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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                            CASE NO.: 4:06-CR-020-SPM

KRYSTAL DOZIER,

           Defendant.
__________________________________/

              ORDER MODIFYING JUDGMENT AND SENTENCE

      THIS CAUSE comes before the Court upon the “Defendant Krystal

Dozier’s Motion to Alter Judgment” (doc. 155) filed February 28, 2007, in which

counsel requests that the Court recommend Defendant’s participation in a drug

treatment program. The Government is unopposed to the granting of the motion.

      For good cause shown, it is

      ORDERED AND ADJUDGED as follows:

      1.     The motion (doc. 155) is hereby granted.

      2.     The Court recommends that Defendant receive and participate in

             substance abuse counseling and treatment while incarcerated in

             the Bureau of Prisons.

             DONE AND ORDERED this first day of March, 2007.


                                      s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
